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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

_________________________________
                                     )
AFRICAN COMMUNITIES                  )
TOGETHER, a membership               )
organization; UNDOCUBLACK            )
NETWORK, a membership                )
organization; DAVID KROMA;           )
MOMOLU BONGAY; OTHELLO               )
A.S.C. DENNIS; YATTA KIAZOLU; )
CHRISTINA WILSON; JERRYDEAN )
SIMPSON; C.B., AL. K., D.D., D.K., )
AI. K., AD. K. by and through their  )
father and next friend DAVID KROMA; )
O.D., and A.D., by and through their )
father and next friend OTHELLO       )
A.S.C. DENNIS; O.S. by and through )
his mother and next friend           )
JERRYDEAN SIMPSON                    )
                                     )
                                     )
                Plaintiffs,          )
                                     )   Civil Action No. 4:19-cv-10432-DHH
v.                                   )
                                     )
DONALD J. TRUMP, President           )
of the United States in              )
his official capacity;               )
U.S. DEPARTMENT OF                   )   MOTION FOR EXPEDITED BRIFIENG
HOMELAND SECURITY;                   )   SCHEDULE FOR PLAINTIFF’S
KIRSTJEN NIELSEN,                    )   MOTION FOR PRELIMINARY
Secretary                            )   INJUNCTION
of the U.S. Department of            )
Homeland Security in her             )
official capacity;                   )
                                     )
                                     )
                Defendants.          )
                                     )
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                MOTION FOR EXPEDITED BRIEFING SCHEDULE
     FOR PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION – OPPOSED BY
                              DEFENDANTS

                         Plaintiffs African Communities Together, UndocuBlack Network, David

Kroma, Momolu Bongay, Othello A.S.C. Dennis, Yatta Kiazolu, Christina Wilson, Jerrydean

Simpson, C.B., AL. K., D.D., D.K., AI. K., AD. K., O.D., A.D., and O.S. respectfully move this

Court for an expedited briefing schedule for Plaintiff’s Motion for a Preliminary Injunction and

for short leave to file a reply brief.1 Specifically, Plaintiffs request that the Response to the

Motion for Preliminary Injunction be due in ten (10) days, on Friday March 22, 2019 and the

reply be due three (3) days following on Monday March 25, 2019. In support thereof, Plaintiff

states as follows:

           1. The standard briefing schedule under District of Massachusetts Local Rule 7.1(b)(2)

takes at least two weeks to complete—14 days for the response and an unspecified number of

additional days for the reply, if one is required. As such Plaintiff’s Motion for Preliminary

Injunction would not be ripe until irreparable harm will have been done to Plaintiffs.

           2. As explained in the Complaint and motion for preliminary injunction, on March 31,

2019, the Trump Administration intends to terminate the Deferred Enforced Departure (DED)

program for thousands of Liberians residing lawfully in the United States.

           3. Plaintiffs’ Motion for Preliminary Injunction requests that this Court enjoin the

termination of the DED program for Liberians until the final resolution of this case.

           4. If briefing on Plaintiffs’ Motion for Preliminary Injunction is not expedited, Plaintiffs

and thousands of other Liberian DED beneficiaries will be forced to leave the United States



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    Defendant’s oppose Plaintiffs request as noted in point 7.

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where they have lived, worked and built families. This unfathomable harm cannot be allowed –

particularly without review from this Court.

        5. Plaintiffs therefore require an expedited briefing schedule to prevent Defendants from

causing further irreparable harm to Plaintiffs and thousands of others while the Motion for

Preliminary Injunction is pending. This request only seeks to expedite the process as much as

necessary to ensure a full airing of the issues at hand and protect Plaintiffs’ interests.

        6. Plaintiffs also ask for short leave to file a reply brief in this case. Plaintiffs request only

three days, over a weekend to file such a reply. A reply in this case is essential because of the

extent of the harms faced by the Plaintiffs, the breadth of the legal issues at hand, and the

importance of this case for the public interest. The Court will benefit greatly from full briefing

on this matter and thus Plaintiffs request leave to file a reply in short order so as to give the Court

as much time as possible to review briefs before argument.

        7. Defendants asked Plaintiffs to include the following statement in Plaintiffs’ motion in

lieu of Defendants filing a separate opposition brief: Defendants oppose Plaintiffs’ request for

expedited briefing and their request for leave to file a reply brief. Defendants merely ask this

Court to proceed with the time periods contemplated by the local rules, under which Defendants

have 14 days to oppose and Plaintiffs do not have leave to file a reply. Plaintiffs’ rush is entirely

of their own choosing. They waited nearly a year to bring this lawsuit and preliminary

injunction motion to challenge a decision announced in March 2018. Defendants should not

have their deadline condensed in order to accommodate Plaintiffs’ delay and Plaintiffs’ desire to

file a reply. Rather, Plaintiffs’ dilatory actions should, at the very least, result in Plaintiffs

foregoing a reply brief and Defendants having the time period to oppose a motion that is

contemplated by the local rules.

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       8. Plaintiff also respectfully requests that any hearing on Plaintiff’s Motion for

Preliminary Injunction be held as soon as the Court’s schedule permits immediately following

the submission of Plaintiffs’ reply.

       WHEREFORE, for the reasons stated above, Plaintiff respectfully requests that the Court

order that the response to Plaintiff’s Motion for Preliminary Injunction be due on March 22,

2019, and the reply, if any, be due on March 27, 2019.

Respectfully submitted this March 12, 2019
                                              On behalf of Plaintiffs by their Attorneys,


                                                           /s/ Oren Nimni
                                              Oren Nimni (BBO #691821)
                                              Oren Sellstrom (BBO# 569045)
                                              Iván Espinoza-Madrigal (pro hac vice forthcoming)
                                              LAWYERS FOR CIVIL RIGHTS
                                              61 Batterymarch Street, 5th Floor
                                              Boston, Massachusetts 02110
                                              (617) 988-0624



                                              ______________/s/Jon Greenbaum
                                              Jon Greenbaum (pro hac vice forthcoming)
                                              Dorian L. Spence (pro hac vice forthcoming)
                                              Maryum Jordan (pro hac vice forthcoming)
                                              LAWYERS COMMITTEE FOR CIVIL RIGHTS
                                              1500 K St. NW, Suite 900
                                              Washington, DC 200005
                                              (202) 662-8600




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                           LOCAL RULE 7.1 CERTIFICATION

Pursuant to Local Rule 7.1(a)(2), and Federal Rule of Civil Procedure 37(a), counsel for
Plaintiffs has conferred with counsel for the Defendants upon the appearance of counsel in an
effort to resolve the issues underlying this Motion.

                                                                                  /s/ Oren Nimni
                                                                                      Oren Nimni




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                                 CERTIFICATE OF SERVICE

I hereby certify that this document will be electronically filed and will be served on each of the
Defendants in accordance with Fed. R. Civ. P. 4 by certified mail.

                                                                                     /s/ Oren Nimni
                                                                                         Oren Nimni




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